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                                                                                                    ELECTRONICALLY FILED - 2022 Feb 28 2:31 PM - CHARLESTON - COMMON PLEAS - CASE#2022CP1000977
IN THE STATE OF SOUTH CAROLINA                    IN THE COURT OF COMMON PLEAS
COUNTY OF CHARLESTON                              FOR THE NINTH JUDICIAL CIRCUIT

FOUR SEASONS TRANSPORTATION, LLC                  CASE NUMBER: 2022-CP-10-
AND ANTRON GADSDEN,

       Plaintiffs,                                                SUMMONS
                                                           (JURY TRIAL REQUESTED)
        v.

ENTERPRISE LEASING COMPANY –
SOUTHEAST, LLC D/B/A ENTERPRISE
RENT A CAR, AMERICAN MILLENNIUM
INSURANCE COMPANY

       Defendants.

       TO THE ABOVE-NAMED DEFENDANTS:
       YOU ARE HEREBY SUMMONED and requested to answer the Complaint in this action
of which a copy is herewith served upon you, and to serve a copy of your Answer to said
Complaint upon the subscriber at his office, 8086 Rivers Avenue, Suite A, North Charleston, SC
29406, within thirty (30) days after service hereof, exclusive of the day of such service; and if
you fail to answer the Complaint within the time aforesaid, the Plaintiff will apply to the Court
for the relief demanded in the Complaint.


                                                     WIGGER LAW FIRM, INC.


                                                     s/ Jarrel L. Wigger
                                                     Jarrel L. Wigger, Esq.
                                                     Attorney for the Plaintiffs
                                                     8086 Rivers Avenue
                                                     N. Charleston, SC 29406
                                                     Phone No.: (843) 553-9800
                                                     Fax No.: (843) 553-1648
                                                     Email: jwigger@wiggerlawfirm.com
North Charleston, South Carolina
this 28th day of February 2022.




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IN THE STATE OF SOUTH CAROLINA                  IN THE COURT OF COMMON PLEAS
COUNTY OF CHARLESTON                            FOR THE NINTH JUDICIAL CIRCUIT

FOUR SEASONS TRANSPORTATION, LLC                CASE NUMBER: 2022-CP-10-
AND ANTRON GADSDEN,

       Plaintiffs,                                             COMPLAINT
                                                         (JURY TRIAL REQUESTED)
        v.

ENTERPRISE LEASING COMPANY –
SOUTHEAST, LLC D/B/A ENTERPRISE
RENT A CAR, AMERICAN MILLENNIUM
INSURANCE COMPANY,

       Defendants.

       TO THE ABOVE-NAMED DEFENDANTS:

      The Plaintiffs, by and through their undersigned attorney and complaining of the
Defendants would show unto this Honorable Court as follows:

                              JURISDICTION AND PARTIES

ONE: The Plaintiff, Four Seasons Transportation, LLC, is a corporation organized and existing
under the laws of the State of South Carolina, is licensed to do business in the State of South
Carolina, and conducts business in Charleston County, South Carolina, and is owned and
operated by Plaintiff Antron Gadsden.

TWO: The Plaintiff, Antron Gadsden, is a citizen and resident of Charleston County, South
Carolina.

THREE: Upon information and belief, the Defendant, Enterprise Leasing Company –
Southeast, LLC, d/b/a Enterprise Rent-a-Car (hereinafter “Defendant Enterprise”), is a
corporation organized and existing under the laws of a state other than the State of South
Carolina, is licensed to do business in the State of South Carolina, and conducts business in
Charleston County, South Carolina, which operates and manages an Enterprise Rent-a-Car
located at 2004 Savannah Highway, Charleston, South Carolina.

FOUR: Upon information and belief, the Defendant, American Millennium Insurance Company
(hereinafter “Defendant American Millennium,”), is a corporation organized and existing under
the laws of a state other than the State of South Carolina, who was the insurance carrier for
Plaintiff Four Seasons Transportation, LLC, issuing policy number #LHT08199, providing
coverage from 8-21-19 through 8-21-20, which coverage existed during the time of subject
incident.


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FIVE: The parties, matters and all things and matters hereinafter alleged are within the jurisdiction
of this Court.

                                   STATEMENT OF FACTS

SIX: Prior to November 29, 2019, Plaintiff Gadsden purchased the 2018 Dodge Ram Pick-up
truck for use with his business, Plaintiff Four Seasons Transportation, LLC.

SEVEN: On or about August 21, 2019, Plaintiff Gadsden insured the 2018 Dodge Ram Pick-up
truck with Defendant American Millennium Insurance Company with a commercial policy and
named his business, Plaintiff Four Seasons Transportation, LLC as a named insured.

EIGHT: Defendant American Millennium issued its policy to the Plaintiffs, policy number
#LHT08199 for the effective dates of 8-21-19 through 8-21-20, which policy was to cover all
losses.

NINE: Plaintiff Gadsden frequently has to travel for work and other reasons and prefers to rent
vehicles for those traveling events.

TEN: On or about November 29, 2019, Plaintiff Antron Gadsden entered into a Rental
Agreement with Defendant Enterprise Leasing Company-Southeast LLC, d/b/a Enterprise Rent-
a-Car, located at 2004 Savannah Highway, Charleston, SC, for rental period 11-29-19 through
12-18-19.

ELEVEN: At the time of its delivery, Plaintiff’s business vehicle was undamaged and in good
working order.

TWELVE: Plaintiff Antron Gadsden was directed by an employee of Defendant Enterprise to
leave his business vehicle, a 2018 Dodge Ram Pick-up truck, owned by the Plaintiffs, in
Defendant Enterprise’s parking lot during the time that Plaintiff Gadsden would be renting the
vehicle.

THIRTEEN: Defendant Enterprise took the Plaintiffs’ property under their care, claiming to
provide private security and that his vehicle would be under video surveillance and checked on
by the employees.

FOURTEEN: Despite Mr. Gadsden following Defendant Enterprise’s instructions on where to
put his vehicle, Defendant Enterprise’s property was not properly secured, and the Plaintiffs’
vehicle was broken into and stolen, on or about December 11, 2019 and used to commit a crime
in Richland County, South Carolina.

FIFTEEN: As a result of Defendant Enterprise’s negligence, the Plaintiffs not only had their
vehicle stolen, but also the personal property of Mr. Gadsden’s that was inside the stolen vehicle,
was stolen; such personal property having a total value of approximately $7,000.00.

SIXTEEN: Defendant Enterprise failed to take reasonable precautions to ensure that their
property was properly secured and under surveillance, especially since they were instructing

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their customers to leave their vehicles for any period of time on their property, and had posted a
sign that the property was under surveillance.

SEVENTEEN: At all times relevant to this case, Defendant American Millennium was the
insurance carrier for the Plaintiffs’ vehicle, issuing their policy, number LHT08199, for period 8-
21-19 through 8-21-20.

EIGHTEEN: On or about December 12, 2019, Plaintiff Gadsden contacted Prestige
International Insurance Group, Inc., the agency for Plaintiffs’ insurance carrier Defendant
American Millennium, to report a claim for his stolen vehicle and personal property.

NINETEEN: Upon information and belief, Prestige International Insurance Group contacted
Plaintiff Gadsden back on or about December 13, 2019 requesting information regarding the
subject incident. Mr. Gadsden and the adjuster for Defendant American Millennium continued
to have back and forth communications regarding the status of his claim.

TWENTY:        Plaintiff Gadsden made a final call to the adjuster for Defendant American
Millennium and was informed that his vehicle and personal property would not be covered due
to where his vehicle was parked.


                        FOR A FIRST CAUSE OF ACTION
                NEGLIGENT BAILMENT OF DEFENDANT ENTERPRISE


TWENTY-ONE: Plaintiffs reallege and reiterate the allegations contained in the above
Paragraphs as fully repeated herein.

TWENTY-TWO: At all times herein Plaintiffs entrusted their property to Defendant
Enterprise when they knew or should have known of potential acts of criminal intention of the
public to remove said property.

TWENTY-THREE: At all times herein Plaintiffs entrusted their property to Defendant
Enterprise and they failed to ensure or exercise due diligence in the proper care and control of
Plaintiffs’ property.

TWENTY-FOUR: At all times herein, Defendant Enterprise possessed a duty to keep said
property from risk of theft by others.

TWENTY-FIVE: As a direct and proximate result of Defendant Enterprise’s willful, wanton,
reckless, negligent and grossly negligent bailment, Plaintiffs are without the use, possession or
enjoyment of their property.

TWENTY-SIX: As a direct and proximate result of Defendant Enterprise’s willful, wanton,
reckless, negligent and grossly negligent conduct, Plaintiffs are without the use, possession or
enjoyment of their property.



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 TWENTY-SEVEN: By reason of the foregoing, Plaintiffs have been denied use, possession or
 compensation of their property.


                    FOR A SECOND CAUSE OF ACTION
     BREACH OF DUTY OF CARE BY BAILEE AS TO DEFENDANT ENTERPRISE

TWENTY-EIGHT: Plaintiffs reallege and reiterate the allegations contained in the above
paragraphs as if they are set forth verbatim.

TWENTY-NINE: On or about December 5, 2019, when Defendant Enterprise took Plaintiff
Gadsden’s business vehicle into its care in exchange for receiving payment for a rental vehicle, a
bailment for the mutual benefit of the parties arose.

THIRTY: As a Bailee, Defendant Enterprise was required to exercise ordinary care and prudence
in protection of Plaintiff’s property.

THIRTY-ONE: Between December 5, 2019 and December 11, 2019, Defendant Enterprise failed
to exercise ordinary care and prudence in the following particulars:

       (a) In failing to equip its vehicle storage lot with surveillance cameras;

       (b) In failing to equip its vehicle storage lot with sufficient gates and locks; or, if so
           equipped, in failing to properly utilize such gates and locks;

       (c) In failing to take regular inventory of the vehicles on its premises;

       (d) In failing to adequately investigate once it received an indication that a crime had been
           committed on its premises;

       (e) In failing to use the degree of care and caution that a reasonably prudent person
           would have used under the circumstances then and there prevailing;

       (f) In other particulars which discovery may show.

THIRTY-TWO: As a result of Defendant Enterprise’s failure to exercise ordinary care in the
safekeeping of Plaintiff Gadsden’s property, Plaintiffs have suffered a loss of their vehicle and other
pecuniary losses.


                        FOR A THIRD CAUSE OF ACTION
                NEGLIGENT SECURITY OF DEFENDANT ENTERPRISE

THIRTY-THREE: Plaintiffs reallege and reiterate the allegations contained in the above
Paragraphs as fully repeated herein.

THIRTY-FOUR:           Defendant Enterprise, their agents and servants, were negligent, grossly
negligent in the following manner:
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               a)     In failing to know or should have known that a dangerous circumstance
                      then and there could exist in their parking lot;

               b)     In failing to exercise even slight care, knew or should have known that
                      there was a potential of damage to the Plaintiffs;

               c)     In failing to fulfill the duty of care owed to the Plaintiffs in protecting their
                      property, which damage did occur against Plaintiffs as a result of the
                      reckless and willful acts of Defendant Enterprise;

               d)     In failing to ensure adequate security and surveillance to Plaintiffs’
                      property;

               e)     In failing to ensure Plaintiffs were protected from damage; and

               f)     In failing to put in place adequate security and surveillance measures
                      designed to protect Plaintiffs’ property.

THIRTY-FIVE:            That as a direct and proximate result of Defendant Enterprise’s conduct,
the Plaintiffs sustained personal property loss, damage and emotional injuries.

                         FOR A FOURTH CAUSE OF ACTION
               BREACH OF CONTRACT AS TO DEFENDANT ENTERPRISE

THIRTY-SIX: Plaintiffs reallege and reiterate the allegations contained in the above paragraphs
as if they are set forth verbatim.

THIRTY-SEVEN: The agreement between the Plaintiffs and Defendant Enterprise as set forth
above constitutes a contract.

THIRTY-EIGHT: Defendant Enterprise breached said contract by failing to provide a secure
location for Plaintiff Gadsden to store his vehicle.

THIRTY-NINE: As a direct and proximate cause of said breach, Plaintiffs’ vehicle was stolen,
resulting in pecuniary loss to the Plaintiffs.

              FOR A FIFTH CAUSE OF ACTION BAD FAITH REFUSAL
           TO PAY BENEFITS OF DEFENDANT AMERICAN MILLENNIUM

FORTY: Plaintiffs reallege and reiterate the allegations contained in the above Paragraphs as
fully repeated herein.

FORTY-ONE: Plaintiffs suffered damages in the incident on December 11, 2019.

FORTY-TWO: Plaintiffs properly submitted a claim to Defendant American Millennium for the
benefits they were entitled to under their policy.

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FORTY-THREE: Defendant American Millennium, its agents and employees, acting in bad
faith, have failed and refused to pay benefits to Plaintiffs for this incident.

FORTY-FOUR: Defendant American Millennium, its agents and employees, acted negligently,
grossly negligent and in bad faith as follows:

               1. In failing to acknowledge with reasonable promptness pertinent
                  communications with respect to claims arising under its policy, in violation of
                  the Code of Laws of South Carolina, Sec. 38-59-20, as amended;

               2. In failing to adopt and implement reasonable standards for prompt settlement
                  of claims arising under its policy, in violation of the Code of Laws of South
                  Carolina, Sec. 38-59-20, as amended;

               3. In failing to attempt in good faith to effect prompt, fair and equitable
                  settlement of claims submitted to it where coverage is available and the
                  Plaintiffs are entitled to that coverage, in violation of South Carolina Code of
                  Laws, Sec. 38-59-20, as amended;

               4. In compelling claimants to institute suits to recover amounts reasonably due
                  or payable with respect to claims arising under its policies;

               5. In failing to pay for an insured loss; and

               6. In such other ways as may become evident during discovery.

FORTY-FIVE: As a proximate result of the bad faith acts of Defendant American Millennium,
the Plaintiffs are entitled to actual damages, attorney fees and the costs of this action.
               FOR A SIXTH CAUSE OF ACTION
   BREACH OF CONTRACT OF DEFENDANT AMERICAN MILLENNIUM

FORTY-SIX: Plaintiffs reallege and reiterate the allegations contained in the above Paragraphs
as fully repeated herein.
.
FORTY-SEVEN: Defendant American Millennium, in failing to provide benefit payments to
the insured, and pay claims, under the terms of its policy of insurance, have breached that
insurance contract.

FORTY-EIGHT: Such acts of misrepresentation constitute a breach of contract, all to
Plaintiffs’ detriment.

FORTY-NINE: As a proximate result of Defendant American Millennium’s breach of contract,
the Plaintiffs have been damaged and are entitled to actual damages, punitive damages, attorney
fees and costs of this litigation in bad faith pursuant to Section 38-59-40, South Carolina Code of
Laws, 1976.



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        WHEREFORE, the Plaintiffs prays for judgment against the Defendants in actual and
compensatory damages, and punitive damages in an amount to be determined by the trier of fact,
legal fees, costs of this action and any other relief this Honorable Court deems just and proper.




                                                    WIGGER LAW FIRM, INC.


                                                    s/Jarrel L. Wigger
                                                    Jarrel L. Wigger, Esq.
                                                    Attorney for the Plaintiffs
                                                    8086 Rivers Avenue
                                                    N. Charleston, SC 29406
                                                    Phone No.: (843) 553-9800
                                                    Fax No.: (843) 553-1648
                                                    Email: jwigger@wiggerlawfirm.com
North Charleston, South Carolina
this 28th day of February, 2022.




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 STATE OF SOUTH CAROLINA                                IN THE COURT OF COMMON PLEAS

 COUNTY OF CHARLESTON                                   CIVIL ACTION NO: 2022-CP-10-00977

 Four Seasons Transportation, LLC and Antron
 Gadsden,

                                        Plaintiffs,      ENTERPRISE LEASING COMPANY –
                                                        SOUTHEAST, LLC D/B/A ENTERPRISE
 v.                                                        RENT A CAR ANSWER TO THE
                                                             PLAINTIFFS’ COMPLAINT
 Enterprise Leasing Company – Southeast,
 LLC D/B/A Enterprise Rent A Car, American                        (Jury Trial Demanded)
 Millennium Insurance Company,

                                     Defendants.


TO: JARREL L. WIGGER, ESQUIRE, ATTORNEYS FOR PLAINTIFFS AND TO
    THE PLAINTIFFS NAMED ABOVE:

        This Defendant, Enterprise Leasing Company – Southeast, LLC D/B/A Enterprise Rent A

Car, by and through its undersigned counsel and responding to the Complaint of the Plaintiffs,

answer as follows:

                                    FOR A FIRST DEFENSE

        1.     Each and every allegation of the Complaint not hereinafter specifically admitted or

qualified is hereby denied.

        2.     This Defendant is without knowledge or information sufficient at this time to form

a belief as to the truth of the allegations contained in Paragraphs 1 and 2 of the Plaintiff’s

Complaint.

        3.     Upon information and belief, this Defendant admits the allegations contained in

Paragraph 3 of the Plaintiff’s Complaint.

        4.     This Defendant is without knowledge or information sufficient at this time to form

a belief as to the truth of the allegations contained in Paragraph 4 of the Plaintiff’s Complaint.
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       5.      Upon information and belief, this Defendant admits the allegations contained in

Paragraph 5 of the Plaintiff’s Complaint.

       6.      This Defendant is without knowledge or information sufficient at this time to form

a belief as to the truth of the allegations contained in Paragraphs 6, 7, 8, and 9 of the Plaintiff’s

Complaint, and therefore denies the same.

       7.      This Defendant admits that the Antron Gadsden entered into a Rental Agreement

with Enterprise Leasing Company-Southeast LLC, d/b/a Enterprise Rent-a-Car, located at 2004

Savannah Highway, Charleston, SC on November 29, 2019, but denies the remaining allegations

of Paragraph 10 of the Plaintiff’s Complaint.

       8.      This Defendant is without knowledge or information sufficient at this time to form

a belief as to the truth of the allegations contained in Paragraph 11 of the Plaintiff’s Complaint,

and therefore denies the same.

       9.      This Defendant denies the allegations contained in Paragraphs 12 and 13 of the

Plaintiff’s Complaint.

       10.     This Defendant denies that this Defendant instructed the Plaintiff where to put his

vehicle and likewise denies that this Defendant’s property was not properly secured. This

Defendant is without knowledge or information sufficient at this time to form a belief as to the

truth of the remaining allegations contained in Paragraph 14 of the Plaintiff’s Complaint, and

therefore denies the same.

       11.     This Defendant denies the allegations contained in Paragraphs 15 and 16 of the

Plaintiff’s Complaint.




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        12.     This Defendant is without knowledge or information sufficient at this time to form

a belief as to the truth of the allegations contained in Paragraph 17, 18, 19, and 20 of the Plaintiff’s

Complaint, and therefore denies the same.

        13.     In responding to the allegations contained in Paragraph 21 of the Plaintiff’s

Complaint, this Defendant realleges all prior paragraphs of this Answer and incorporates them

herein by reference.

        14.     This Defendant denies the allegations contained in Paragraphs 22 through 27 of the

Plaintiff’s Complaint.

        15.     In responding to the allegations contained in Paragraph 28 of the Plaintiff’s

Complaint, this Defendant realleges all prior paragraphs of this Answer and incorporates them

herein by reference.

        16.     This Defendant denies the allegations contained in Paragraphs 28 through 32 of the

Plaintiff’s Complaint.

        17.     In responding to the allegations contained in Paragraph 33 of the Plaintiff’s

Complaint, this Defendant realleges all prior paragraphs of this Answer and incorporates them

herein by reference.

        18.     This Defendant denies the allegations contained in Paragraphs 34 and 35 of the

Plaintiff’s Complaint.

        19.     In responding to the allegations contained in Paragraph 36 of the Plaintiff’s

Complaint, this Defendant realleges all prior paragraphs of this Answer and incorporates them

herein by reference.

        20.     This Defendant denies the allegations contained in Paragraphs 37, 38, and 39 of the

Plaintiff’s Complaint.



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       21.     In responding to the allegations contained in Paragraph 36 of the Plaintiff’s

Complaint, this Defendant realleges all prior paragraphs of this Answer and incorporates them

herein by reference.

       22.     The allegations of the Plaintiff’s fourth cause of action set forth in Paragraphs 37,

38, and 39 are not directed to this Defendant, and therefore no response is required. To the extent

that a response may be required however, this Defendant denies the allegations therein to the extent

contrary or adverse to the interests of this Defendant.

       23.     In responding to the allegations contained in Paragraph 40 of the Plaintiff’s

Complaint, this Defendant realleges all prior paragraphs of this Answer and incorporates them

herein by reference.

       24.     The allegations of the Plaintiff’s fifth cause of action set forth in Paragraphs 41

through 45 are not directed to this Defendant, and therefore no response is required. To the extent

that a response may be required however, this Defendant denies the allegations therein to the extent

contrary or adverse to the interests of this Defendant.

       25.     In responding to the allegations contained in Paragraph 46 of the Plaintiff’s

Complaint, this Defendant realleges all prior paragraphs of this Answer and incorporates them

herein by reference.

       26.     The allegations of the Plaintiff’s sixth cause of action set forth in Paragraphs 47

through 49 are not directed to this Defendant, and therefore no response is required. To the extent

that a response may be required however, this Defendant denies the allegations therein to the extent

contrary or adverse to the interests of this Defendant.




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                                  FOR A SECOND DEFENSE

       27.     The Complaint fails to state facts sufficient to constitute a cause of action and,

therefore, should be dismissed.

                                   FOR A THIRD DEFENSE

       28.     Any damage suffered by Plaintiffs was the direct and proximate result of Plaintiffs’

own negligence and Plaintiffs’ recovery should be barred or, alternatively, reduced in proportion

to the amount of their own negligence.

                                  FOR A FOURTH DEFENSE

       29.     This Defendant would show that such injuries of losses that Plaintiffs sustained, if

any, were not caused by any negligence on the part of this Defendant but were rather due to and

caused by the intervening and superseding fault, breach of warranty or act of omission of a third

party, over which this Defendant had no control.

                                   FOR A FIFTH DEFENSE

       30.     This Defendant would show, upon information and belief, that the Plaintiffs’ claim

for punitive damages violates the Fifth, Sixth, Seventh, Eighth and Fourteenth Amendments to the

Constitution of the United States of America in that it violates the double jeopardy clause in that

the Defendant could be subjected to multiple awards of punitive damages for the same set of facts;

the self-incrimination clause is being violated because the Defendant can be compelled to give

testimony against Defendant’s self in a penalty situation such as punitive damages; the assessment

of punitive damages by a burden of proof less than beyond a reasonable doubt is violative of the

Sixth and Fourteenth Amendments in that punitive damages are a fine or penalty and are, therefore,

quasi-criminal in nature; Plaintiffs’ claim for punitive damages violates this Defendant’s right to

access the courts as guaranteed by the Seventh and Fourteenth Amendments because the threat of



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an award of punitive damages chills the Defendant’s exercise of that right; the Plaintiffs’ claim for

punitive damages violates the Eighth Amendment’s guarantee that excessive fines shall not be

imposed, the Plaintiffs’ claim for punitive damages violates both the due process and equal

protection clauses of the Fourteenth Amendment in that the standard for awarding either punitive

damages is unduly vague and, therefore, violates both procedural and substantive due process

safeguards; therefore, the Plaintiffs’ claim for punitive damages should be dismissed..

                                   FOR A SIXTH DEFENSE

       31.     Pursuant to S.C. Code Ann. §15-32-520, any proceeding to determine punitive

damages should be bifurcated from any trial to determine liability and compensatory damages.

                                 FOR A SEVENTH DEFENSE

       32.     Any award of punitive damages should not exceed the greater of three (3) times the

amount of compensatory damages as provided for in S.C. Code Ann. §15-32-530.

                                 FOR AN EIGHTH DEFENSE

       33.     This Defendant denies ownership or control of the subject parking lot where the

Plaintiff’s car was parked.

                                   FOR A NINTH DEFENSE

       34.     This Defendant alleges that the Plaintiff primarily assumed the risk of parking his

vehicle in parking lot that was known to him was not under the control of this Defendant.

       WHEREFORE, having fully answered the Complaint, the Defendants deny the Plaintiff

is entitled to any relief whatsoever and prays that the Complaint be dismissed with prejudice and

for such other and further relief as the Court deems just and proper.

The Defendants demand a jury trial.

                              [Signature Block on following Page]



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                                       MURPHY & GRANTLAND, P.A.

                                               s/Anthony W. Livoti
                                       Anthony W. Livoti, Esquire
                                       S.C. Bar No. 13971
                                       JD Elliott, Esquire
                                       S.C. Bar No. 104124
                                       4406-B Forest Drive
                                       Post Office Box 6648
                                       Columbia, SC 29260
                                       Tel.: (803) 782-4100; Fax: (803) 782-4140

                                       Attorneys for Defendant Enterprise Leasing
                                       Company – Southeast, LLC D/B/A Enterprise Rent
                                       A Car


Columbia, South Carolina
April 28, 2022




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